     Case 19-12657-VFP           Doc 23-1 Filed 09/09/19 Entered 09/09/19 17:23:58                      Desc Ntc
                                  of Order Vacating Dismissa Page 1 of 1
Form 149 − ntcvaco

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 19−12657−VFP
                                         Chapter: 7
                                         Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Christopher F Cruz
   274 Broad Ave−Apt 10
   Fairview, NJ 07022
Social Security No.:
   xxx−xx−3342
Employer's Tax I.D. No.:


                                        NOTICE OF ORDER VACATING
                                          AN ORDER OF DISMISSAL


      NOTICE IS HEREBY GIVEN that Order Dismissing the above−captioned Case which was entered
on 4/5/2019 has been vacated effective 9/9/2019.




Dated: September 9, 2019
JAN: mcp

                                                                         Jeanne Naughton
                                                                         Clerk
